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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

Sharon Lamorshia June,                           )             C/A No. 0:19-2752-PJG
                                                 )
                              Plaintiff,         )
                                                 )                     ORDER
       v.                                        )
                                                 )
Andrew Saul, Commissioner of Social              )
Security Administration,                         )
                                                 )
                              Defendant.         )
                                                 )

       This matter is before the court on Plaintiff’s motion for attorney’s fees pursuant to the

Equal Access to Justice Act (“EAJA”). (ECF No. 27); see 28 U.S.C. § 2412. The parties filed a

joint stipulation on December 21, 2020 notifying the court that the parties had agreed to a

compromise settlement in which Defendant agrees to pay Plaintiff $4,800.00 in attorney’s fees,

$23.00 in expenses, and $400.00 in costs.

       The court has reviewed the stipulation and finds the compromise settlement reasonable.

Accordingly, it is

       ORDERED that the Plaintiff’s request for attorney’s fees pursuant to the EAJA, expenses

under the EAJA, and costs1 be granted in the amount of $5,223.00. EAJA fees awarded by this

court belong to the Plaintiff and are subject to offset under the Treasury Offset Program (31 U.S.C.

§ 3716(c)(3)(B) (2006)). In the event Plaintiff has no present debt subject to offset and Plaintiff

has executed a proper assignment to Plaintiff’s counsel, Defendant is directed to make the payment

due to Plaintiff’s counsel. If Plaintiff has no debt subject to offset and no proper assignment has




       1
        Costs are paid from the Judgment Fund by the Department of the Treasury rather than by
Agency funds. See 28 U.S.C. §§2412(c)(1).
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been made by Plaintiff to counsel, Defendant is directed to make the check due pursuant to this

Order payable to Plaintiff and delivered to Plaintiff’s counsel.

       IT IS SO ORDERED.

                                              __________________________________________
January 11, 2021                              Paige J. Gossett
Columbia, South Carolina                      UNITED STATES MAGISTRATE JUDGE




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